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 7                        UNITED STATES DISTRICT COURT
 8                     SOUTHERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                CASE NO.: 20CR3165-JLS
11                      Plaintiff,
12         v.                                 ORDER CONTINUING MOTION
                                              HEARING/TRIAL SETTING
13   JOSE RAUL MELERO-LOPEZ,
14                      Defendant.
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           Pursuant to joint motion, IT IS HEREBY ORDERED that Mr. Melero-
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     Lopez’s motion hearing/trial setting currently scheduled for October 22, 2021, be
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     continued to November 12, 2021, at 1:30 p.m.
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           IT IS FURTHER ORDERED that time be excluded under the Speedy Trial
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     Act at 18 U.S.C. § 3161(h)(7). The Court finds that the continuance serves the ends
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     of justice and outweighs the public and Defendant’s interest in a speedy trial
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     pursuant to 18 U.S.C. § 3161(h)(7)(A).
22
            SO ORDERED.
23
24   Dated: October 20, 2021
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